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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          DETROIT DIVISION


IDA M. ROWSER,
                                                  CIVIL COMPLAINT
             Plaintiff,

v.                                              CASE NO. 2:19-cv-10310

ALLIED INTERSTATE, LLC,
                                              DEMAND FOR JURY TRIAL
             Defendant.


                                   COMPLAINT

        NOW comes IDA M. ROWSER (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of ALLIED

INTERSTATE, LLC (“Defendant”), as follows:

                              NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection

Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer

Protection Act (“TCPA”) under 47 U.S.C. §227 et seq., and the Michigan

Occupational Code (“MOC”) under M.C.L. §339.901 et seq. for Defendant’s

unlawful conduct.

                             JURISDICTION AND VENUE




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   2. This action arises under and is brought pursuant to the FDCPA and TCPA.

Subject matter jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C

§227, 28 U.S.C. §§1331 and 1337, as the action arises under the laws of the United

States. Supplemental jurisdiction exists for the state law claim pursuant to 28 U.S.C.

§1367.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Eastern District of Michigan and a substantial portion the

events or omissions giving rise to the claims occurred within the Eastern District of

Michigan.

                                      PARTIES

   4. Plaintiff is a 39 year old natural person residing in Detroit, Michigan, which

lies within the Eastern District of Michigan.

   5. Plaintiff is a “person,” as defined by 47 U.S.C. §153(39).

   6. Defendant is a debt collector with its principal place of business located at

7525 West Campus Road, New Albany, Ohio 43054. The principal purpose of

Defendant’s business is the collection of consumer debts. Defendant collects or

attempts to collect, directly or indirectly, defaulted debts owed or due or asserted to

be owed or due to others using the mail and telephone, including consumers in the

State of Illinois.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).


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   8. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives

and insurers at all times relevant to the instant action.

                       FACTS SUPPORTING CAUSES OF ACTION

   9. In approximately the winter of 2018, Plaintiff began receiving calls to her

cellular phone number, (313) XXX-4127, from Defendant.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber,

owner, and operator of the cellular phone ending in 4127. Plaintiff is and always

has been financially responsible for the cellular phone and its services.

   11. Defendant mainly places phone calls to Plaintiff’s cellular phone from the

phone number (877) 313-3730; but upon belief, it has used other phone number as

well.

   12. Upon information and belief, the above referenced phone number is regularly

utilized by Defendant during its debt collection activity.

   13. Upon answering phone calls from Defendant, Plaintiff experiences a

noticeable pause, lasting several seconds in length, before she is connected with a

live representative.

   14. Upon speaking with Defendant, Plaintiff is informed that Defendant is

seeking to collect upon an outstanding consumer debt said to be owed by an

individual named “George Boll.”


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   15. Plaintiff is unfamiliar with any individual by that name, so she informed

Defendant that it was calling the wrong party and demanded that it stop calling.

   16. Plaintiff has received not less than 30 phone calls from Defendant seeking to

collect upon a debt owed by an individual with whom Plaintiff is unfamiliar.

   17. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman

regarding her rights, resulting in expenses.

   18. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   19. Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to, invasion of privacy, aggravation that accompanies

collection telephone calls intended for an unknown individual, emotional distress,

increased risk of personal injury resulting from the distraction caused by the calls,

increased usage of her telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on her cellular

phone, and diminished space for data storage on her cellular phone.


    COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   20. Plaintiff repeats and realleges paragraphs 1 through 19 as though fully set

forth herein.

   21. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.




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      22. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA,

because it regularly use the mail and/or the telephone to collect, or attempt to collect,

delinquent consumer accounts.

      23. Defendant identifies itself as a debt collector, and is engaged in the business

of collecting or attempting to collect, directly or indirectly, defaulted debts owed or

due or asserted to be owed or due to others. Defendant has been a member of ACA

International, an association of credit and collection professionals, since 2015.1

      24. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out

of a transaction due or asserted to be owed or due to another for personal, family, or

household purposes.

          a. Violations of FDCPA §1692b & c(b)

      25. The FDCPA, pursuant to 15 U.S.C. §1692b, prohibits a debt collector from

“communicating with any person other than the consumer for the purpose of

acquiring location information about the consumer.” Additionally, under §1692b(3),

a debt collector “shall not communicate with any such person more than once unless

requested to do so by such person or unless the debt collector reasonably believes

that the earlier response of such person is erroneous or incomplete and that such

person now has correct or complete location information.” Furthermore, under

§1692c(b), “without the prior consent of the consumer given directly to the debt


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    http://www.acainternational.org/search#memberdirectory

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collector…a debt collector may not communicate, in connection with the collection

of any debt, with any person other than the consumer, his attorney, a consumer

reporting agency…the attorney of the creditor, or the attorney of the debt collector.”

   26. Defendant violated §1692b, b(3), and c(b) by contacting Plaintiff on a number

of occasions seeking to collect upon a debt owed by an individual named “George

Boll.” Defendant’s phone calls to Plaintiff, a third party, constitute direct violations

of the numerous provisions governing contacts with third parties under the FDCPA.

      b. Violations of FDCPA §1692c(a)(1) and §1692d

   27. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from

engaging “in any conduct the natural consequence of which is to harass, oppress, or

abuse any person in connection with the collection of a debt.” §1692d(5) further

prohibits, “causing a telephone to ring or engaging any person in telephone

conversation repeatedly or continuously with intent to annoy, abuse, or harass any

person at the called number.”

   28. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called

Plaintiff attempting to collect upon a debt owed by an individual with whom Plaintiff

was not familiar. Defendant called Plaintiff at least 30 times attempting to collect a

debt from Plaintiff that she had no connection with. This repeated behavior of

systematically calling Plaintiff’s cellular phone in an attempt to collect a debt owed

by an individual unknown to Plaintiff was harassing and abusive. The frequency and


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volume of calls shows that Defendant willfully ignored Plaintiff’s information with

the goal of annoying and harassing her.

        c. Violations of FDCPA §1692e

   29. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from

using “any false, deceptive, or misleading representation or means in connection

with the collection of any debt.”

   30. In addition, this section enumerates specific violations, such as:

             “The use of any false representation or deceptive means to
             collect or attempt to collect any debt or to obtain information
             concerning a consumer.” 15 U.S.C. §1692e(10).

   31. Defendant violated §1692e and e(10) when it used deceptive means to collect

and/or attempt to collect the subject debt. Defendant repeatedly contacted the wrong

party seeking to collect upon a debt. Nevertheless, Defendant called Plaintiff at least

30 times in a deceptive attempt to force her to answer its calls and ultimately make

a payment, even though she was not the debtor. Through its conduct, Defendant

misleadingly represented to Plaintiff that it had the legal ability to contact her via an

automated system absent her consent or any prior business relationship with

Plaintiff.

        d. Violations of FDCPA §1692f

   32. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from

using “unfair or unconscionable means to collect or attempt to collect any debt.”


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   33. Defendant violated §1692f when it unfairly and unconscionably attempted to

collect on a debt by repeatedly calling Plaintiff seeking to speak with an individual

who was not Plaintiff. Defendant repeatedly contacted Plaintiff attempting to collect

upon an individual with whom Plaintiff is unfamiliar. Attempting to coerce payment

by placing voluminous phone calls to an individual not associated with the subject

debt is unfair and unconscionable behavior. These means employed by Defendant

only served to worry and confuse Plaintiff.

   34. As pled in paragraphs 16 through 19, Plaintiff has been harmed and suffered

damages as a result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, IDA M. ROWSER, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
      U.S.C. §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
      provided under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
      U.S.C. §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and
      appropriate.


   COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT


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   35. Plaintiff repeats and realleges paragraphs 1 through 34 as though fully set

forth herein.

   36. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons

on their cellular phone using an automatic telephone dialing system (“ATDS”)

without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS

as “equipment which has the capacity...to store or produce telephone numbers to be

called, using a random or sequential number generator; and to dial such numbers.”

   37. Defendant uses an ATDS in connection with its communications directed

towards Plaintiff’s cellular phone. The noticeable pause, lasting several seconds in

length, which Plaintiff experiences during answered calls from Defendant is

instructive that an ATDS is being utilized to generate the phone calls. Moreover, the

nature and frequency of Defendant’s contacts points to the involvement of an ATDS.

   38. Defendant violated the TCPA by placing at least 30 phone calls to Plaintiff’s

cellular phone using an ATDS without her consent. Plaintiff has never had any

business relationship with Defendant nor has she given it permission to call her

cellular phone. Defendant was calling Plaintiff’s cellular phone looking for a

different party with whom Plaintiff is unfamiliar. As such, Plaintiff could not have

given Defendant consent to contact her.




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   39. The calls placed by Defendant to Plaintiff were regarding collection activity

and not for emergency purposes as defined by the TCPA under 47 U.S.C.

§227(b)(1)(A)(i).

   40. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable

to Plaintiff for at least $500.00 per call. Moreover, Defendant’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the

damages to which Plaintiff is otherwise entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, IDA M. ROWSER, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble
      damages pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and
      appropriate.


       COUNT III – VIOLATIONS OF THE MICHIGAN OCCUPATIONAL CODE

   41. Plaintiff restates and realleges paragraphs 1 through 40 as though fully set

forth herein.

   42. Plaintiff is a “consumer” or “debtor” as defined by M.C.L. § 339.901(f).




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   43. Defendant is a “collection agency” as defined by M.C.L. § 339.901(b) as it is

a person that is directly engaged in collecting or attempting to collect a claim owed

or due or asserted to be owed or due another.

   44. The subject debt is a “[c]laim” or “debt” as defined by M.C.L. § 339.901(a)

as it is an obligation or alleged obligation for the payment of money or thing of value

arising out of an agreement or contract for a purchase made primarily for personal,

family, or household purposes.

          a. Violations of M.C.L. § 339.915(f)(ii)

   45. The MOC, pursuant to M.C.L. § 339.915(f)(ii) prohibits a collection agency

from “[m]isrepresenting in a communication with a debtor . . . [t]he legal rights of

the creditor or debtor.”

   46. Defendant violated M.C.L. § 339.915(f)(ii) by repeatedly contacting

Plaintiff’s cellular phone using an automated system absent consent. Through its

conduct, Defendant misrepresented that it had the legal ability to contact Plaintiff

using an automated system even though Plaintiff had never consented to receiving

such calls. As such, Defendant misrepresented its legal rights in placing the phone

calls, as well as Plaintiff’s legal rights to have such phone calls cease, by continuing

to contact Plaintiff’s cellular phone absent the lawful ability to do so.

          b. Violations of M.C.L. § 339.915(n)




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   47. The MOC, pursuant to M.C.L. § 339.915(n), prohibits a collection agency

from “[u]sing a harassing, oppressive, or abusive method to collect a debt, including

causing a telephone to ring or engaging a person in telephone conversation

repeatedly, continuously, or at unusual times or places which are known to be

inconvenient to the debtor.”

   48. Defendant violated the MOC when it repeatedly called Plaintiff attempting to

collect upon a debt which Plaintiff did not owe. Defendant called Plaintiff at least

30 times, even though Plaintiff was not the party it was seeking. This repeated

behavior of systematically calling Plaintiff’s phone in an attempt to collect a debt

owed by an individual unknown to Plaintiff was harassing and abusive. Such

contacts were made with the hope that Plaintiff would succumb to the harassing

behavior and ultimately make a payment. The nature and volume of phone calls

would naturally cause an individual to feel oppressed.

         c. Violations of M.C.L. § 339.915(q)

   49. The MOC, pursuant to M.C.L. § 339.915(q), subjects collection agencies to

liability for “[f]ailing to implement a procedure designed to prevent a violation by

an employee.”

   50. Defendant violated the MOC by failing to adequately have procedures in place

designed to prevent a violation by its employee(s). Based on Defendant’s conduct,

it is clear that there is a complete absence of procedures in place designed to ensure


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that its collection phone calls are being placed to their intended recipient. As such,

Defendant has failed to implement procedures designed to prevent its employees

from engaging in harassing, oppressive, or abusive methods in connection with its

collection of debts.

   WHEREFORE, Plaintiff, IDA M. ROWSER, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief, pursuant to M.C.L. § 339.916(1).

   c. Awarding Plaintiff actual damages, including treble damages, pursuant to
      M.C.L. § 339.916(2).

   d. Awarding statutory damages of at least $50.00, including treble damages,
      pursuant to M.C.L. § 339.916(2).

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to M.C.L. §
      339.916(2).

   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.

Dated: January 31, 2019                             Respectfully submitted,

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